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                               UNITED STATES DISTRICT COURT
                                  DISTRiCT OF NEW JERSEY

UNITED STATES OF AMERICA                          :       Crim. No.


        V.


KARTHIK NIMMALA                                   :       Report & Recommendation


        This matter having come before the Court by way of referral from the Hon. Madeline Cox

Arleo to conduct a proceeding pursuant to Fed. R. Crim. P. ii and to issue a report and

recommendation regarding the defendant’s entry of a guilty plea: and the Court having

considered the written consent by the defendant and his counsel to have the proceeding before

the Undersigned; and the Undersigned having conducted a proceeding pursuant to Fed. R. Crim.

P. 11: and as more fully set forth and reflected in the transcript of proceedings dated June 6,

201 7, the Court makes the following report:

        1. The defendant consented to the ently of a guilty plea before a United States Magistrate

Judge subject to his ability to file any   written objections to   the findings and recommendations

contained in this report and orally stated at the Rule 11 proceeding, and subject to its adoption by

the United States District Judge;

       2. The defendant fully understood the oath and consequences of failing to tell the truth at

the plea hearing;

        3. The defendant fully understood that the defendant has a right to have this case

presented to a grand jury;

       4. The defendant fully understood the nature of the charges and the consequences of his

guilty pleading, including the maximum penalties that he faces;
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apply to the case and that the United States District Judge would impose any sentence and that

she may, under certain circumstances, depart from the Guidelines;

          6. The defendant fully understood his right to plead “not guilty” and to be tried by ajury,

with the assistance of counsel, and he would have the right to confront and cross-examine

witnesses, call witnesses if he chose to, and to remain silent or testify, if he so chose;

          7. The defendant fully understood that if the guilty plea is accepted, then there would be

no trial in this case;

          8. The defendant was fully competent and capable of entering an informed guilty plea:

          8. The defendant’s waiver of the right to have this case presented to the grand jury, the

waiver of the right to file an appeal and to file a post- conviction challenge, and the plea were

free, knowing, and voluntary; and

          9. There is a factual basis to support the plea of guilty.

          Based upon the foregoing, and based upon the transcript of the proceedings, it is on this
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      day of June, 2017, recommended to the United States District Judge that the defendant’s plea

of guilty be accepted and that a judgment of guilt to the Information be entere—.

                                                         Respectfully,


                                                         s/Michael A. Ham
                                                         United States Magistrate Judge

                                                NOTICE

         FAILURE TO FILE WRITTEN OBJECTIONS TO THE FINDINGS AND
         RECOMMENDATIONS CONTAINED IN THE FOREGOING REPORT, WiTHIN TEN
         DAYS OF RECEIPT OF SAME, MAY BAR DE NOVO DETERMINATION BY THE
         UNITED STATES DISTRICT JUDGE OF AN ISSUE COVERED HEREIN AND SHALL
         BAR APPELLATE REVIEW OF SUCH FACTUAL FINDINGS AS MAY BE ACCEPTED
         OR ADOPTED BY THE UNITED STATES DISTRICT JUDGE.
